           Case 1:20-cv-01107-JD Document 57 Filed 03/31/21 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW HAMPSHIRE

____________________________________
                                         )
                                         )
LEAH MOREAU, individually and on         )
behalf of all others similarly situated, )
                                         )
                        Plaintiff,       )
v.                                       )              Docket No. 1:20-cv-01107-JD
                                         )
MEDICUS HEALTHCARE SOLUTIONS, )
LLC, and MEDICUS HOSPITALIST             )
SERVICES, LLC                            )
                        Defendants.      )
                                         )


                                   NOTICE OF SETTLEMENT

        Defendants, Medicus Healthcare Solutions, LLC and Medicus Hospitalist Services, LLC,

by and through their undersigned counsel, and with the assent of all parties, respectfully notify

the Court that the above-captioned matter has been resolved. The parties respectfully request

that the Court issue an order for the parties to file a stipulation of dismissal within thirty (30)

days.




                                                   1
           Case 1:20-cv-01107-JD Document 57 Filed 03/31/21 Page 2 of 2




                                               Respectfully submitted,


                                               Medicus Healthcare Solutions, LLC et al.

                                               By Their Attorneys,

                                               SHEEHAN PHINNEY BASS & GREEN PA

Dated: March 31, 2021                          By:     /s/ James P. Harris
                                                       James P. Harris (NH Bar #15336)
                                                       John-Mark Turner (NH Bar # 15610)
                                                       1000 Elm Street, P.O. Box 3701
                                                       Manchester, NH 03105-3701
                                                       (603) 627-8152
                                                       jharris@sheehan.com
                                                       jturner@sheehan.com


                                               and

                                               PAUL HASTINGS, LLP



Dated: March 31, 2021                          By: _____/s/ Kenneth W. Gage

                                                       Kenneth W. Gage, pro hac vice
                                                       200 Park Avenue
                                                       New York, NY 10166
                                                       (212) 318-6046
                                                       kennethgage@paulhastings.com



                                         CERTIFICATION

       I hereby certify that on March 31, 2021, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system, which sent notification of such filing to all counsel of record.

                                                       /s/ James P. Harris
                                                       James P. Harris




                                                  2
